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       Attorneys for Plaintiffs
   6   and the class
   7                              UNITED STATES DISTRICT COURT
   8                            CENTRAL DISTRICT OF CALIFORNIA
        –––––––––––––––––––––––––––––––––––––––––               x
   9    Nicky Rivera, Balmore Prudencio, and Michelle           :
        Quintero, individually on behalf of themselves and all :
  10
        others similarly situated, and John Does (1-100) on     : Case No.: 2:18-cv-01469-AB-RAO
  11    behalf of themselves and all others similarly situated, :
                                                                :
  12                                    Plaintiffs,             :
  13                                                            :
                                -against-                       :  FIRST AMENDED CLASS
  14                                                            :    ACTION COMPLAINT
                                                                :
  15
                                                                :  JURY TRIAL DEMANDED
        Midway Importing, Inc.,
  16                                                            :
                                                                :
  17                                       Defendant.
       –––––––––––––––––––––––––––––––––––––––––                x
  18

  19                  Plaintiffs Nicky Rivera, Balmore Prudencio, and Michelle Quintero
  20
       (hereinafter “Plaintiffs”), individually and on behalf of all others similarly situated, by
  21
       their attorneys, allege the following upon information and belief, except for those
  22

  23 allegations pertaining to Plaintiffs, which are based on personal knowledge:

  24                                  NATURE OF THE ACTION
  25
              1.      This action seeks to remedy the deceptive and misleading business practices
  26
       of Midway Importing, Inc. (hereinafter “Defendant”) with respect to the marketing and
  27

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                                                      1
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       sales of the following Grisi product line (hereinafter the “Products”) throughout the States
   1

   2 of New York and California, and throughout the country:

   3               ● Grisi Regenerative Aloe Vera Natural Soap
   4
                   ● Grisi Balance Oat Natural Soap
   5
                   ● Grisi Lightening Mother of Peal Natural Soap
   6

   7               ● Grisi Moisturizer Donkey’s Milk Natural Soap
   8          2.      Defendant manufactures, sells, and distributes the Products using a
   9
       marketing and advertising campaign centered around claims that appeal to health-
  10
       conscious consumers, i.e., that its Products are “Natural”. However, Defendant’s
  11

  12 advertising and marketing campaign is false, deceptive, and misleading because the

  13 Products contain synthetic ingredients.

  14
              3.      Plaintiffs and those similarly situated (“Class Members”) relied on
  15
       Defendant’s misrepresentations that the Products are “Natural” when purchasing the
  16

  17 Products. Plaintiffs and Class Members paid a premium for the Products over and above

  18 comparable products that did not purport to be “Natural”. Given that Plaintiffs and Class

  19
       Members paid a premium for the Products based on Defendant’s misrepresentations that
  20
       they are “Natural”, Plaintiffs and Class Members suffered an injury in the amount of the
  21

  22 premium paid.

  23          4.      Defendant’s conduct violated and continues to violate, inter alia, California
  24
       Business Codes §§ 17200 and 1750, New York General Business Law §§ 349 and 350,
  25
       and the consumer protection statutes of the other 48 states. Defendant breached and
  26

  27 continues to breach its express and implied warranties regarding the Products. Defendant

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       has been and continues to be unjustly enriched. Accordingly, Plaintiffs bring this action
   1

   2 against Defendant on behalf of themselves and Class Members who purchased the

   3 Products during the applicable statute of limitations period (the “Class Period”).

   4
                                    JURISDICTION AND VENUE
   5
              5.     Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).   Plaintiffs
   6

   7 Balmore Prudencio and Michelle Quintero are citizens of the State of California. Plaintiff

   8 Nicky Rivera is a resident of the State of New York. Defendant is a corporation with its
   9
       principal place of business in Houston, Texas, and is organized and exists under the laws
  10
       of the State of Texas. Upon information and belief, the amount in controversy is in excess
  11

  12 of $5,000,000, exclusive of interests and costs.

  13          6.     This Court has personal jurisdiction over Defendant because Defendant
  14
       conducts and transacts business in the State of California, contracts to supply goods within
  15
       the State of California, and supplies goods within the State of California. Some of the
  16

  17 transactions giving rise to this case occurred in California.

  18          7.     Venue is proper because Balmore Prudencio, Michelle Quintero, and many
  19
       Class Members reside in the Central District of California, and throughout the State of
  20
       California, and Defendant maintains offices in Santa Fe Springs, California.
  21

  22                                           PARTIES

  23 Plaintiffs

  24
              8.     Plaintiff Balmore Prudencio is an individual consumer, who, at all times
  25
       material hereto, was a resident of Orange County, California. During the class period, he
  26

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                                                    3
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       purchased the Products, including the Grisi Regenerative Aloe Vera Natural Soap and the
   1

   2 Grisi Lightening Mother of Pearl Soap at a Walmart in Santa Ana, California.

   3          9.     Mr. Prudencio purchased the Products because he read the packaging, which
   4
       represented that the Products are “Natural”. Mr. Prudencio relied on the Defendant’s false,
   5
       misleading, and deceptive representations that the Products are “Natural”. Had he known
   6

   7 the truth – that the representations he relied upon in making his purchase were false,

   8 misleading, and deceptive – he would not have purchased the Products or paid as much as
   9
       he did for them. If the Products were actually "Natural," as represented on the Products’
  10
       labels, Plaintiff would purchase the Products in the immediate future. However, Plaintiff
  11

  12 cannot be sure whether future representations on the label are truthful.

  13          10.    Plaintiff Michelle Quintero is an individual consumer, who, at all times
  14
       material hereto, was a resident of Los Angeles County, California. During the class
  15
       period, she purchased the Products in California. On several occasions between November
  16

  17 2016 and April 2017, she purchased the Grisi Regenerative Aloe Vera Natural Soap and

  18 the Grisi Lightening Mother of Pearl Soap at a Walmart in Rosemead, California.

  19
              11.    Ms. Quintero purchased the Products because she read the packaging, which
  20
       represented that the Products are “Natural”. Ms. Quintero relied on the Defendant’s false,
  21

  22 misleading, and deceptive representations that the Products are “Natural”. Had she known

  23 the truth – that the representations she relied upon in making her purchase were false,

  24
       misleading, and deceptive – She would not have purchased the Products or paid as much as
  25
       she did for them. If the Products were actually "Natural," as represented on the Products’
  26

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                                                    4
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       labels, Plaintiff would purchase the Products in the immediate future. However, Plaintiff
   1

   2 cannot be sure whether future representations on the label are truthful.

   3          12.    Plaintiff Nicky Rivera is an individual consumer, who, at all times material
   4
       hereto, was a resident of New York. In January 2017, she purchased the Grisi
   5
       Regenerative Aloe Vera Natural Soap at a Stop & Shop in Duchess County, New York.
   6

   7          13.    Mr. Rivera purchased the Products because he read the packaging, which

   8 represented that the Products are “Natural”. Mr. Rivera relied on the Defendant’s false,
   9
       misleading, and deceptive representations that the Products are “Natural”. Had he known
  10
       the truth – that the representations he relied upon in making his purchase were false,
  11

  12 misleading, and deceptive – he would not have purchased the Products or paid as much as

  13 he did for them. If the Products were actually "Natural," as represented on the Products’

  14
       labels, Plaintiff would purchase the Products in the immediate future. However, Plaintiff
  15
       cannot be sure whether future representations on the label are truthful.
  16

  17   Defendant

  18          14.    Defendant is a corporation organized and existing under the laws of the State
  19
       of Texas with its principal place of business in Houston, Texas. Defendant manufactures,
  20
       markets, advertises, and distributes products throughout the United States. Defendant
  21

  22 created and/or authorized the false, misleading, and deceptive advertisements, packaging,

  23 and labeling for the Products.

  24
              15.    Defendant’s target consumers are largely Hispanic. Defendant’s website
  25
       boasts: “Our mission here at Midway is to improve the lives of the United States Hispanic
  26

  27

  28
                                                     5
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       consumer by providing the finest quality Hispanic Health & Beauty Care products on the
   1

   2 market.”

   3            16.       Midway describes its sales strategy in the following manner: “Midway
   4
       provides its suppliers and merchandisers with a comprehensive Hispanic HBC distribution
   5
       support strategy that includes marketing & promotions, direct sales merchandising,
   6

   7 distribution & logistics, and a full suite of leading Hispanic Health & Beauty Care

   8 products.”
   9
                                                  FACTUAL BACKGROUND
  10
                17.       Consumers have become increasingly concerned about the effects of
  11

  12 synthetic and chemical ingredients in food, cleaning products, bath and beauty products

  13 and everyday household products. Companies such as the Defendant have capitalized on

  14
       consumers’ desire for purportedly “natural products.” Indeed, consumers are willing to
  15
       pay, and have paid, a premium for products branded “natural” over products that contain
  16
                                                                                          1
  17 synthetic ingredients. In 2015, sales of natural products grew 9.5% to $180 billion.

  18 Reasonable consumers, including Plaintiffs and Class Members, value natural products for

  19
       important reasons, including the belief that they are safer and healthier than alternative
  20
       products that are not represented as natural.
  21

  22
                1
  23               Natural Products Industry Sales up 9.5% to $180bn Says NBJ, FOOD NAVIGATOR, http://www.foodnavigator-
       usa.com/Markets/EXPO-WEST-trendspotting-organics-natural-claims/(page)/6; see also Shoshanna Delventhal, Study Shows
       Surge in Demand for “Natural” Products, INVESTOPEDIA (February 22, 2017),
  24   http://www.investopedia.com/articles/investing/022217/study-shows-surge-demand-natural-products.asp (Study by Kline Research
       indicated that in 2016, the personal care market reached 9% growth in the U.S. and 8% in the U.K. The trend-driven natural and
  25   organic personal care industry is on track to be worth $25.1 million by 2025); Natural living: The next frontier for growth? [NEXT
       Forecast 2017], NEW HOPE NTWORK (December 20, 2016), http://www.newhope.com/beauty-and-lifestyle/natural-living-next-
  26   frontier-growth-next-forecast-2017.

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              18.   Despite the Products containing a number of synthetic ingredients,
   1

   2 Defendant markets the Products as being “Natural”. The Products’ labeling is depicted

   3 below:

   4

   5

   6

   7                         Grisi Regenerative Aloe Vera Natural Soap
   8
   9

  10

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  22

  23                                   Synthetic Ingredients:

  24                                    Sodium Lauryl Sulfate
                                             Citric Acid
  25
                                          Titanium Dioxide
  26

  27

  28
                                                   7
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                             Grisi Balance Oat Natural Soap
   1

   2

   3

   4

   5

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   9

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  11

  12                              Synthetic Ingredients:
  13
                                  Sodium Lauryl Sulfate
  14

  15

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                       Grisi Lightening Mother of Pearl Natural Soap
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   4

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   9

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  14

  15

  16
                                  Synthetic Ingredients:
  17

  18                               Sodium Lauryl Sulfate
                                    Calcium Carbonate
  19

  20

  21

  22

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                       Grisi Moisturizer Donkey’s Milk Natural Soap
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  16
                                  Synthetic Ingredients:
  17

  18                               Sodium Lauryl Sulfate

  19

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             19.         Defendant’s representations that the Products are “Natural” is false,
   1

   2 misleading, and deceptive because the Products contain multiple ingredients that are, as

   3 explained below, synthetic.

   4
                    a. Sodium Lauryl Sulfate is a synthetic additive as stated in C.F.R. 172.822. It
   5
                         is an active ingredient prepared by sulfation of lauryl alcohol, followed by
   6

   7                     neutralization with sodium carbonate. 2
   8                b. Calcium Carbonate is produced from calcium hydroxide, calcium chloride,
   9
                         or as a byproduct in the lime soda process. Federal regulations recognize
  10
                         calcium hydroxide as a synthetic compound (and the FDA has declared that
  11

  12                     calcium chloride renders a food no longer “natural.”) 3 The lime soda process

  13                     employs hazardous and synthetic substances and requires processing
  14
                         techniques so excessive so as to render the finished product unnatural. In
  15
                         fact, the EPA has promulgated regulations specifically addressing the
  16

  17                     environmental impact of calcium carbonate produced through the lime

  18                     process and by recovery from the Solvay waste products. Additionally,
  19
                         when used in drugs, calcium carbonate is listed as a synthetic compound by
  20
                         federal regulation.
  21

  22                c. Titanium Dioxide is a color additive that is synthetically prepared Ti02, free

  23                     from admixture with other substances. 4
  24

  25

  26         2
                 http://www3.epa.gov/pesticides/chem_search/reg_actions/reregistration/red_G-52_1-Sep-93.pdf
             3
  27             See FDA Warning Letter to Karl A. Hirzel, Hirzel Canning Co., (Aug. 29, 2001).
             4   http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=73.575
  28
                                                                    11
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                    d. Citric Acid is (2-hydroxy-propane-1, 2,3-tricarboxylic acid) is a synthetic
   1

   2                   substance. While the chemical’s name has the word “citric” in it, citric acid
   3                   is no longer extracted from the citrus fruit but industrially manufactured by
   4
                       fermenting certain genetically mutant strains of the black mold fungus,
   5
                       Aspergillus niger.
   6

   7
              20.      Given the presence of these synthetic and artificial ingredients in the
   8
   9 Products, Defendant’s representations that they are “Natural” are deceptive, false, and

  10 misleading.

  11
              21.      Congress has defined "synthetic" to mean “a substance that is formulated or
  12
       manufactured by a chemical process or by a process that chemically changes a substance
  13

  14 extracted from naturally occurring plants, animals, or mineral sources . . . .” 7 U.S.C. §

  15 6502 (21).

  16
              22.      Surveys and other market research, including expert testimony Plaintiffs
  17
       intend to introduce, will demonstrate that the term “natural” is misleading to a reasonable
  18

  19 consumer because the reasonable consumer believes that the term “natural,” when used to

  20 describe goods such as the Products, means that the goods are free of synthetic ingredients.

  21          23.      Consumers lack the meaningful ability to test or independently ascertain or
  22
       verify whether a product is natural, especially at the point of sale. Consumers would not
  23

  24
       know the true nature of the ingredients merely by reading the ingredients label.

  25          24.      Discovering that the ingredients are not natural and are actually synthetic
  26 requires a scientific investigation and knowledge of chemistry beyond that of the average

  27
       consumer. That is why, even though the ingredients listed above are identified on the back
  28
                                                      12
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       of the Products’ packaging in the ingredients listed, the reasonable consumer would not
   1

   2 understand – nor are they expected to understand - that these ingredients are synthetic.

   3          25.    Moreover, the reasonable consumer is not expected or required to scour the
   4
       ingredients list on the back of the Products in order to confirm or debunk Defendant’s
   5
       prominent front-of-the-Products claims, representations, and warranties that the Products
   6

   7 are “Natural”.

   8          26.    Defendant did not disclose that the above listed ingredients are synthetic
   9
       ingredients. A reasonable consumer understands Defendant’s “Natural” claims to mean
  10
       that the Products are “Natural” and do not contain synthetic ingredients.
  11

  12          27.    Defendant’s representations that the Products are “Natural”, induced

  13 consumers, including Plaintiffs and Class Members, to pay a premium to purchase the

  14
       Products. Plaintiffs and Class Members relied on Defendant’s false and misleading
  15
       misrepresentations in purchasing the Products at a premium price above comparable
  16

  17 alternatives that are not represented to be “Natural”. If not for Defendant’s

  18 misrepresentations, Plaintiffs and Class Members would not have been willing to purchase

  19
       the Products at a premium price. Accordingly, they have suffered an injury as a result of
  20
       Defendant’s misrepresentations.
  21

  22          28.    Consumers rely on label representations and information in making

  23 purchasing decisions.

  24
              29.    The marketing of the Products as “Natural” in a prominent location on the
  25
       labels of all of the Products, throughout the Class Period, evidences Defendant’s awareness
  26

  27 that “Natural” claims are material to consumers.

  28
                                                    13
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             30.      Defendant’s deceptive representations and omissions are material in that a
   1

   2 reasonable person would attach importance to such information and would be induced to

   3 act upon such information in making purchase decisions.

   4
             31.      Plaintiffs and the Class members reasonably relied to their detriment on
   5
       Defendant’s misleading representations and omissions.
   6

   7         32.      Defendant’s false, misleading, and deceptive misrepresentations and

   8 omissions are likely to continue to deceive and mislead reasonable consumers and the
   9
       general public, as they have already deceived and misled Plaintiffs and the Class members.
  10
             33.      In making the false, misleading, and deceptive representations and omissions
  11

  12 described herein, Defendant knew and intended that consumers would pay a premium for

  13 Products labeled “Natural” over comparable products not so labeled.

  14
             34.      As an immediate, direct, and proximate result of Defendant’s false,
  15
       misleading, and deceptive representations and omissions, Defendant injured Plaintiffs and
  16

  17 the Class members in that they:

  18               a. Paid a sum of money for Products that were not what Defendant
  19                  represented;

  20               b. Paid a premium price for Products that were not what Defendant
                      represented;
  21

  22               c. Were deprived of the benefit of the bargain because the Products they
                      purchased were different from what Defendant warranted;
  23

  24
                   d. Were deprived of the benefit of the bargain because the Products they
                      purchased had less value than what Defendant represented; and
  25

  26               e. Used a product that was of a different quality than what Defendant
                      promised.
  27

  28
                                                    14
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              35.    Had Defendant not made the false, misleading, and deceptive representations
   1

   2 and omissions, Plaintiffs and the Class members would not have been willing to pay the

   3 same amount for the Products they purchased, and, consequently, Plaintiffs and the Class

   4
       members would not have been willing to purchase the Products.
   5
              36.    Plaintiffs and the Class members paid for Products that were “Natural” but
   6

   7 received Products that were not “Natural”. The Products Plaintiffs and the Class members

   8 received were worth less than the Products for which they paid.
   9
              37.    Based on Defendant’s misleading and deceptive representations, Defendant
  10
       was able to, and did, charge a premium price for the Products over the cost of competitive
  11

  12 products not bearing a “Natural” label.

  13          38.    Consequently, Plaintiffs and the Class members have suffered injury in fact
  14
       and lost money as a result of Defendant’s wrongful conduct.
  15
                                       CLASS ALLEGATIONS
  16

  17          39.    Plaintiffs bring this matter on behalf of themselves and those similarly

  18 situated. As detailed at length in this Complaint, Defendant orchestrated deceptive

  19
       marketing and labeling practices. Defendant’s customers were uniformly impacted by and
  20
       exposed to this misconduct. Accordingly, this Complaint is well situated for classwide
  21

  22 resolution, including injunctive relief.

  23          40.    The Class is defined as all consumers who purchased the Products anywhere
  24
       in the United States during the Class Period (the “Class”).
  25

  26

  27

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                                                    15
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             41.    Plaintiffs also seeks certification, to the extent necessary or appropriate, of a
   1

   2 subclass of individuals who purchased the Products in the State of California at any time

   3 during the Class Period (the “California Subclass”).

   4
             42.    Plaintiffs also seeks certification, to the extent necessary or appropriate, of a
   5
       subclass of individuals who purchased the Products in the State of New York at any time
   6

   7 during the Class Period (the “New York Subclass”).

   8         43.    The Class, the California Subclass, and the New York Subclass, shall be
   9
       referred to collectively throughout the Complaint as the “Class.”
  10
             44.    The Class is properly brought and should be maintained as a class action
  11

  12 under Rule 23(a), satisfying the class action prerequisites of numerosity, commonality,

  13 typicality, adequacy and superiority because:

  14
             45.    Numerosity: Class Members are so numerous that joinder of all members is
  15
       impracticable. Plaintiffs believe that there are thousands of consumers who are Class
  16

  17 Members described above who have been damaged by Defendant’s deceptive and

  18 misleading practices.

  19
             46.    Commonality: The questions of law and fact common to the Class Members,
  20
       which predominate over any questions which may affect individual Class Members,
  21

  22 include, but are not limited to:

  23                a. Whether Defendant is responsible for the conduct alleged herein which
  24
                        was uniformly directed at all consumers who purchased the Products;
  25
                    b. Whether Defendant’s misconduct set forth in this Complaint
  26

  27                    demonstrates that Defendant has engaged in unfair, fraudulent, or

  28
                                                    16
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                        unlawful business practices with respect to the advertising, marketing,
   1

   2                    and sale of its Products;
   3                 c. Whether Defendant made false and/or misleading statements to the Class
   4
                        and the public concerning the contents of its Products;
   5
                     d. Whether Defendant’s false and misleading statements concerning its
   6

   7                    Products were likely to deceive the public;
   8                 e. Whether Plaintiffs and the Class are entitled to injunctive relief;
   9
                     f. Whether Plaintiffs and the Class are entitled to money damages under the
  10
                        same causes of action as the other Class Members.
  11

  12 These issues predominate over individual issues. This controversy will largely turn on

  13 Defendant’s uniform behavior in misrepresenting the Products to the Class which will be

  14
       evaluated under an objective “reasonable person” standard. Individual inquiries into the
  15
       conduct of members of the Class will not be necessary.
  16

  17          47.    Typicality: Each Plaintiff is a member of the national Class. Plaintiffs

  18 Prudencio and Quintero are members of the California Subclass and Plaintiff Rivera is a

  19
       member of the New York Subclass. Plaintiffs’ claims are typical of the claims of each
  20
       Class Member in that every member of the Class was susceptible to the same deceptive,
  21

  22 misleading conduct and purchased the Defendant’s Products. Plaintiffs are entitled to

  23 relief under the same causes of action as the other Class Members.

  24
              48.    Adequacy: Plaintiffs are adequate Class representatives because their
  25
       interests do not conflict with the interests of the Class Members they seek to represent;
  26

  27 their consumer fraud claims are common to all members of the Class and they have a

  28
                                                    17
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       strong interest in vindicating their rights; they have retained counsel competent and
   1

   2 experienced in complex class action litigation and they intend to vigorously prosecute this

   3 action. Plaintiffs have no interests which conflict with those of the Class. The Class

   4
       Members’ interests will be fairly and adequately protected by Plaintiffs and their counsel.
   5
       The Class is properly brought and should be maintained as a class action under Rule 23(b).
   6

   7 Pursuant to Rule 23(b)(3), common issues of law and fact predominate over any other

   8 questions affecting only individual members of the Class. The Class issues fully
   9
       predominate over any individual issue because no inquiry into individual conduct is
  10
       necessary; all that is required is a narrow focus on Defendant’s deceptive and misleading
  11

  12 marketing and labeling practices.

  13          49.      Superiority: A class action is superior to the other available methods for the
  14
       fair and efficient adjudication of this controversy because:
  15
                    a. The joinder of thousands of individual Class Members is impracticable,
  16

  17                   cumbersome, unduly burdensome, and a waste of judicial and/or litigation

  18                   resources;
  19
                    b. The individual claims of the Class Members are modest compared with the
  20
                       expense of litigating the claim, thereby making it impracticable, unduly
  21

  22                   burdensome, and expensive—if not totally impossible—to justify individual

  23                   actions;
  24
                    c. When Defendant’s liability has been adjudicated, all Class Members’ claims
  25
                       can be determined by the Court and administered efficiently in a manner far
  26

  27

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                                                      18
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                       less burdensome and expensive than if it were attempted through filing,
   1

   2                   discovery, and trial of all individual cases;
   3                d. This class action will promote orderly, efficient, expeditious, and appropriate
   4
                       adjudication and administration of Class claims;
   5
                    e. Plaintiffs know of no difficulty to be encountered in the management of this
   6

   7                   action that would preclude its maintenance as a class action;
   8                f. This class action will assure uniformity of decisions among Class Members;
   9
                    g. The Class is readily definable and prosecution of this action as a class action
  10
                       will eliminate the possibility of repetitious litigation;
  11

  12                h. Class Members’ interests in individually controlling the prosecution of

  13                   separate actions is outweighed by their interest in efficient resolution by
  14
                       single class action; and
  15
                    i. It would be desirable to concentrate in this single venue the litigation of all
  16

  17                   plaintiffs who were induced by Defendant’s uniform false advertising to

  18                   purchase its Products as being “Natural.”
  19
              50.      Accordingly, this Class is properly brought and should be maintained as a
  20
       class action under Rule 23(b)(3) because questions of law or fact common to Class
  21

  22 Members predominate over any questions affecting only individual members, and because

  23 a class action is superior to other available methods for fairly and efficiently adjudicating

  24
       this controversy.
  25

  26

  27

  28
                                                        19
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                                      INJUNCTIVE CLASS RELIEF
    1

    2          51.      Rules 23(b)(1) and (2) contemplate a class action for purposes of seeking
    3 class-wide injunctive relief. Here, the Defendant has engaged in conduct resulting in

    4
        misleading consumers about ingredients in its Products. Since Defendant’s conduct has
    5
        been uniformly directed at all consumers in the United States, and the conduct continues
    6

    7 presently, injunctive relief on a class-wide basis is a viable and suitable solution to remedy

    8 Defendant’s continuing misconduct. Plaintiffs do not know if they can rely on Defendant’s
    9
        label claims in the future, but would purchase the Products again if the ingredients were
   10
        changed so that they indeed were “Natural”.
   11

   12          52.      The injunctive Class is properly brought and should be maintained as a class

   13 action under Rule 23(a), and the injunctive Class satisfies the class action prerequisites of

   14
        numerosity, commonality, typicality, and adequacy because:
   15
                     a. Numerosity: Individual joinder of the injunctive Class Members would be
   16

   17                   wholly impracticable. Defendant’s Products have been purchased by

   18                   thousands of people throughout the United States;
   19
                     b. Commonality: Questions of law and fact are common to members of the
   20
                        Class. Defendant’s misconduct was uniformly directed at all consumers.
   21

   22                   Thus, all members of the Class have a common cause against Defendant to

   23                   stop its misleading conduct through an injunction. Since the issues presented
   24
                        by this injunctive Class deal exclusively with Defendant’s misconduct,
   25
                        resolution of these questions would necessarily be common to the entire
   26

   27

   28
                                                      20
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                        Class. Moreover, there are common questions of law and fact inherent in the
    1

    2                   resolution of the proposed injunctive class, including, inter alia:
    3                         i. Resolution of the issues presented in the 23(b)(3) class;
    4
                             ii. Whether members of the Class will continue to suffer harm by
    5
                                 virtue of Defendant’s deceptive product marketing and labeling; and
    6

    7                       iii. Whether, on equitable grounds, Defendant should be prevented from
    8                            continuing to deceptively mislabel its Products as being “Natural”.
    9
                     c. Typicality: Plaintiffs’ claims are typical of the claims of the injunctive Class
   10
                        because their claims arise from the same course of conduct (i.e. Defendant’s
   11

   12                   deceptive and misleading marketing, labeling, and advertising practices).

   13                   Plaintiffs are typical representatives of the Class because, like all members of
   14
                        the injunctive Class, they purchased Defendant’s Products which were sold
   15
                        unfairly and deceptively to consumers throughout the United States.
   16

   17                d. Adequacy: Plaintiffs will fairly and adequately represent and protect the

   18                   interests of the injunctive Class. Their consumer protection claims are
   19
                        common to all members of the injunctive Class and they have a strong
   20
                        interest in vindicating their rights. In addition, Plaintiffs and the Class are
   21

   22                   represented by counsel who is competent and experienced in both consumer

   23                   protection and class action litigation.
   24
               53.      The injunctive Class is properly brought and should be maintained as a class
   25
        action under Rule 23(b)(2) because Plaintiffs seek injunctive relief on behalf of the Class
   26

   27 Members on grounds generally applicable to the entire injunctive Class. Certification

   28
                                                        21
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        under Rule 23(b)(2) is appropriate because Defendant has acted or refused to act in a
    1

    2 manner that applies generally to the injunctive Class (i.e. Defendant has marketed its

    3 Products using the same misleading and deceptive labeling to all of the Class Members).

    4
        Any final injunctive relief or declaratory relief would benefit the entire injunctive Class as
    5
        Defendant would be prevented from continuing its misleading and deceptive marketing
    6

    7 practices and would be required to honestly disclose to consumers the nature of the

    8 contents of its Products. Plaintiffs would purchase the Products again if the ingredients
    9
        were changed so that they indeed were “Natural”.
   10
                                    FIRST CAUSE OF ACTION
   11
                 VIOLATION OF CAL. BUS. & PROF. CODE § 17200, ET SEQ.
   12    (Brought by Plaintiffs Prudencio and Quintero on behalf of the California Subclass)

   13          54.    Plaintiffs repeat and reallege each and every allegation contained in all the
   14
        foregoing paragraphs as if fully set forth herein.
   15
               55.    Plaintiffs Prudencio and Quintero have standing to pursue this claim under
   16

   17 California’s Unfair Competition Law (“UCL”) because they suffered an injury-in-fact and

   18 lost money as a result of Defendant’s unfair practices. Specifically, they expended more

   19
        money in the transaction than they otherwise would have due to Defendant’s conduct.
   20
               56.    Advertising and labeling the Products as “Natural” when they contain
   21

   22 synthetic ingredients constitutes a course of unfair conduct within the meaning of Cal. Civ.

   23 Code § 17200, et seq.

   24
               57.    The conduct of the defendant harms the interests of consumers and market
   25
        competition. There is no valid justification for defendant’s conduct.
   26

   27

   28
                                                      22
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               58.    Defendant engaged in unlawful business acts and practices by breaching
    1

    2 implied and express warranties, and violating the Consumers Legal Remedies Act, Cal.

    3 Civ. Code § 1750, et seq.

    4
               59.    Defendant engaged in fraudulent business practices by knowingly
    5
        misrepresenting the Products as “Natural” when they contain synthetic ingredients. Such
    6

    7 practices are devoid of utility and outweighed by the gravity of harm to Plaintiffs

    8 Prudencio and Quintero and the California Subclass who lost money or property by paying
    9
        for the defective product.
   10
               60.    Each of Defendant’s unfair, unlawful and fraudulent practices enumerated
   11

   12 above was the direct and proximate cause of financial injury to Plaintiffs Prudencio and

   13 Quintero and the Class. Defendant has unjustly benefitted as a result of its wrongful

   14
        conduct. Plaintiffs Prudencio and Quintero and the California Class members are
   15
        accordingly entitled to have Defendant disgorge and restore to Plaintiffs Prudencio and
   16

   17 Quintero and California Class members all monies wrongfully obtained by Defendant as a

   18 result of the conduct as alleged herein.

   19
               61.    Pursuant to section 17203 of the California Business and Professions Code,
   20
        Plaintiffs Prudencio and Quintero and the Class seek an order of this Court enjoining
   21

   22 Defendant from continuing to engage in unfair, unlawful and deceptive practices and any

   23 other act prohibited by law, including the acts set forth herein.

   24

   25

   26

   27

   28
                                                    23
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                                      SECOND CAUSE OF ACTION
    1
                           VIOLATION OF CAL. CIV. CODE § 1750, ET SEQ.
    2                  (Brought by Plaintiffs Prudencio and Quintero on Behalf of the
                                             California Subclass)
    3

    4         62.    Plaintiffs repeat and reallege each and every allegation contained in all the

    5 foregoing paragraphs as if fully set forth herein.

    6
              63.    The Consumers Legal Remedies Act (“CLRA”) was enacted to protect
    7
        consumers against unfair and deceptive business practices. The CLRA applies to
    8
    9 Defendant’s acts and practices because the Act covers transactions involving the sale of

   10 goods to consumers.

   11
              64.    Plaintiffs Prudencio and Quintero and members of the California Subclass
   12
        members are “consumers” within the meaning of section 1761(d) of the California Civil
   13

   14 Code, and they engaged in “transactions” within the meaning of sections 1761(e) and 1770

   15 of the California Civil Code, including the purchases of the Products.

   16
              65.    The Products are “goods” under Cal. Civ. Code §1761(a).
   17
              66.    Defendant’s unfair and deceptive business practices were intended to and did
   18

   19 result in the sale of the Products.

   20         67.    Defendant violated the CLRA by engaging in the following unfair and
   21 deceptive practices:

   22
              (1) Representing that Products have characteristics, uses or benefits that they do not
   23

   24
          have, in violation of section 1770(a)(5);

   25         (2) Representing that Products are of a particular standard, quality, or grade when
   26 they are not, in violation of section 1770(a)(7); and

   27

   28
                                                      24
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               (3) Advertising Products with the intent not to sell them as advertised, in violation
    1

    2          of section 1770(a)(9).
    3          68.    If Plaintiffs Prudencio and Quintero and the California Class members had
    4
        known this fact, they would not have purchased the Products at all or purchased the
    5
        Products at the prices they did.
    6

    7          69.    As a direct and proximate result of Defendant’s conduct, Plaintiffs Prudencio

    8 and Quintero and the California Class suffered injury.
    9
               70.    Pursuant to California Civil Code § 1782(a), Plaintiffs Prudencio and
   10
        Quintero sent Defendant a CLRA notice letter via certified mail, return receipt requested,
   11

   12 which was delivered on or around July 19, 2017, advising Defendant that it is in violation

   13 of the CLRA and must correct, repair, replace or otherwise rectify the goods alleged to be

   14
        in violation of § 1770.
   15
               71.    As of the date of this filing, Plaintiffs have not received a response.
   16

   17          72.    Accordingly, Plaintiffs seek damages under the CLRA in an amount to be

   18 determined at trial.

   19
                                    THIRD CAUSE OF ACTION
   20                        VIOLATION OF NEW YORK GBL § 349
             (Brought by Plaintiff Rivera on Behalf of the New York Subclass Members)
   21

   22          73.    Plaintiffs repeat and reallege each and every allegation contained in all the

   23 foregoing paragraphs as if fully set forth herein.

   24
               74.    New York General Business Law Section 349 (“GBL § 349”) declares
   25
        unlawful “[d]eceptive acts or practices in the conduct of any business, trade, or commerce
   26

   27 or in the furnishing of any service in this state . . .”

   28
                                                       25
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              75.    The conduct of Defendant alleged herein constitutes recurring, “unlawful”
    1

    2 deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff Rivera and

    3 the New York Subclass Members seek monetary damages and the entry of preliminary and

    4
        permanent injunctive relief against Defendant, enjoining it from inaccurately describing,
    5
        labeling, marketing, and promoting the Products.
    6

    7         76.    There is no adequate remedy at law.

    8         77.    Defendant misleadingly, inaccurately, and deceptively markets its Products
    9
        to consumers.
   10
              78.    Defendant’s improper consumer-oriented conduct—including labeling and
   11

   12 advertising the Products as being “Natural”—is misleading in a material way in that it,

   13 inter alia, induced Plaintiff Rivera and the New York Subclass Members to purchase and

   14
        pay a premium for Defendant’s Products and to use the Products when they otherwise
   15
        would not have. Defendant made its untrue and/or misleading statements and
   16

   17 representations willfully, wantonly, and with reckless disregard for the truth.

   18         79.    Plaintiff Rivera and the New York Subclass Members have been injured
   19
        inasmuch as they paid a premium for products that were—contrary to Defendant’s
   20
        representations— not “Natural”. Accordingly, Plaintiff Rivera and the New York Subclass
   21

   22 Members received less than what they bargained and/or paid for.

   23         80.    Defendant’s advertising and Products’ packaging and labeling induced the
   24
        Plaintiff Rivera and the New York Subclass Members to buy Defendant’s Products and to
   25
        pay a premium price for them.
   26

   27

   28
                                                    26
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               81.    Defendant’s deceptive and misleading practices constitute a deceptive act
    1

    2 and practice in the conduct of business in violation of New York General Business Law

    3 §349(a) and Plaintiff Rivera and the New York Subclass Members have been damaged

    4
        thereby.
    5
               82.    As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,
    6

    7 Plaintiff Rivera and the New York Subclass Members are entitled to monetary,

    8 compensatory, treble and punitive damages, injunctive relief, restitution and disgorgement
    9
        of all moneys obtained by means of Defendant’s unlawful conduct, interest, and attorneys’
   10
        fees and costs.
   11

   12                              FOURTH CAUSE OF ACTION
                             VIOLATION OF NEW YORK GBL § 350
   13        (Brought by Plaintiff Rivera on Behalf of the New York Subclass Members)
   14
               83.    Plaintiffs repeat and reallege each and every allegation contained in all the
   15
        foregoing paragraphs as if fully set forth herein.
   16

   17          84.    N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

   18                               False advertising in the conduct of any business, trade or
   19                               commerce or in the furnishing of any service in this state is
                                    hereby declared unlawful.
   20
               85.    N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:
   21

   22                               The term ‘false advertising, including labeling, of a
                                    commodity, or of the kind, character, terms or conditions of
   23                               any employment opportunity if such advertising is misleading
   24
                                    in a material respect. In determining whether any advertising
                                    is misleading, there shall be taken into account (among other
   25                               things) not only representations made by statement, word,
                                    design, device, sound or any combination thereof, but also the
   26                               extent to which the advertising fails to reveal facts material in
   27                               the light of such representations with respect to the commodity
                                    or employment to which the advertising relates under the
   28
                                                      27
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                                    conditions proscribed in said advertisement, or under such
    1
                                    conditions as are customary or usual . . .
    2
               86.    Defendant’s labeling and advertisements contain untrue and materially
    3

    4 misleading statements concerning Defendant’s Products inasmuch as they misrepresent

    5 that the Products are “Natural”.

    6
               87.    Plaintiff Rivera and the New York Subclass Members have been injured
    7
        inasmuch as they relied upon the labeling, packaging and advertising and paid a premium
    8
    9 for the Products which were—contrary to Defendant’s representations—not “Natural”.

   10 Accordingly, Plaintiff Rivera and the New York Subclass Members received less than

   11
        what they bargained and/or paid for.
   12
               88.    Defendant’s advertising, packaging and products’ labeling induced the
   13

   14 Plaintiff Rivera and the New York Subclass Members to buy Defendant’s Products.

   15          89.    Defendant made its untrue and/or misleading statements and representations
   16
        willfully, wantonly, and with reckless disregard for the truth.
   17
               90.    Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen.
   18

   19 Bus. Law § 350.

   20          91.    Defendant made the material misrepresentations described in this Complaint
   21 in Defendant’s advertising, and on the Products’ packaging and labeling.

   22
               92.    Defendant’s material misrepresentations were substantially uniform in
   23

   24
        content, presentation, and impact upon consumers at large. Moreover, all consumers

   25 purchasing the Products were and continue to be exposed to Defendant’s material

   26 misrepresentations.

   27

   28
                                                      28
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                 93.   As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,
    1

    2 Plaintiff Rivera and New York Subclass Members are entitled to monetary, compensatory,

    3 treble and punitive damages, injunctive relief, restitution and disgorgement of all moneys

    4
        obtained by means of Defendant’s unlawful conduct, interest, and attorneys’ fees and
    5
        costs.
    6

    7                            FIFTH CAUSE OF ACTION
                  VIOLATION OF NEW YORK GBL LAW § 350-a(1) BY OMISSION
    8                    (Brought by Plaintiff Rivera on Behalf of the
    9                          New York Subclass Members)

   10            94.   Plaintiffs repeat and reallege each and every allegation contained in the
   11
        foregoing paragraphs as if fully set forth herein.
   12
                 95.   N.Y. Gen. Bus. Law § 350-a(1) expressly covers material omissions:
   13

   14                  In determining whether any advertising is misleading, there shall be
                       taken into account (among other things) not only representations made
   15                  by statement, word, design, device, sound or any combination thereof,
                       but also the extent to which the advertising fails to reveal facts
   16
                       material in the light of such representations with respect to the
   17                  commodity or employment to which the advertising relates under the
                       conditions proscribed in said advertisement, or under such conditions
   18                  as are customary or usual…
   19
                 96.   Defendant’s products’ labeling and advertising contain misleading and/or
   20
        unfair material omissions concerning Defendant’s Products. The Products’ labeling and
   21

   22 advertising omit that: 1) the Products contain synthetic ingredients; and 2) the Products

   23 are not “Natural”.

   24
                 97.   Plaintiff Rivera and the Class Members have been injured inasmuch as they
   25
        relied upon the labels and advertising and paid a premium for Products that, contrary to
   26

   27 Defendant’s labels and advertising, are not “Natural.”

   28
                                                      29
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               98.    Defendant made its untrue and/or misleading statements and representations
    1

    2 willfully, wantonly, and with reckless disregard for the truth.

    3          99.    Defendant’s dissemination of advertising and labeling containing material
    4
        omissions of fact constitutes multiple, separate violations of N.Y. Gen. Bus. Law § 350.
    5
               100.   Defendant’s material misrepresentations by way of omission, as described in
    6

    7 this Complaint, were substantially uniform in content, presentation, and impact upon

    8 consumers at large. Moreover, all consumers purchasing the Products were and continue
    9
        to be exposed to Defendant’s material misrepresentations by way of omission.
   10
               101.   Defendant’s advertising and labeling for the Products induced Plaintiff
   11

   12 Rivera and Class Members to buy the Products at a premium price.

   13          102.   Plaintiff Rivera and Class Members relied on Defendant’s advertising, which
   14
        was deceptive, false, and contained material omissions.
   15
               103.   As a result of Defendant’s false and misleading advertising and labeling,
   16

   17 Plaintiff Rivera and Class Members are entitled to monetary and compensatory damages,

   18 injunctive relief, restitution and disgorgement of all moneys obtained by means of

   19
        Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.
   20
                                     SIXTH CAUSE OF ACTION
   21
                                BREACH OF EXPRESS WARRANTY
   22                    (Brought by Plaintiffs On Behalf of all Class Members)

   23          104.   Plaintiffs repeat and reallege each and every allegation contained in the
   24
        foregoing paragraphs as if fully set forth herein.
   25

   26

   27

   28
                                                      30
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               105.   Defendant provided the Plaintiffs and Class Members with an express
    1

    2 warranty in the form of written affirmations of fact promising and representing that the

    3 Products are “Natural”.

    4
               106.   The above affirmations of fact were not couched as “belief” or “opinion,”
    5
        and were not “generalized statements of quality not capable of proof or disproof.”
    6

    7          107.   These affirmations of fact became part of the basis for the bargain and were
    8 material to the Plaintiffs’ and Class Members’ transactions.
    9
               108.   Plaintiffs and Class Members reasonably relied upon the Defendant’s
   10
        affirmations of fact and justifiably acted in ignorance of the material facts omitted or
   11

   12 concealed when they decided to buy Defendant’s Products.

   13          109.   Within a reasonable time after they knew or should have known of
   14
        Defendant’s breach, Plaintiffs, on behalf of themselves and Class Members, placed
   15
        Defendant on notice of its breach, giving Defendant an opportunity to cure its breach,
   16

   17 which it refused to do.

   18          110.   Defendant breached the express warranty because the Products are not
   19
        “Natural” because they contain synthetic ingredients.
   20
               111.   Defendant thereby breached the following state warranty laws:
   21

   22                 a.     Code of Ala. § 7-2-313;

   23                 b.     Alaska Stat. § 45.02.313;
   24
                      c.     A.R.S. § 47-2313;
   25
                      d.     A.C.A. § 4-2-313;
   26

   27                 e.     Cal. Comm. Code § 2313;

   28
                                                      31
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                  f.    Colo. Rev. Stat. § 4-2-313;
    1

    2             g.    Conn. Gen. Stat. § 42a-2-313;
    3             h.    6 Del. C. § 2-313;
    4
                  i.    D.C. Code § 28:2-313;
    5
                  j.    Fla. Stat. § 672.313;
    6

    7             k.    O.C.G.A. § 11-2-313;
    8             l.    H.R.S. § 490:2-313;
    9
                  m.    Idaho Code § 28-2-313;
   10
                  n.    810 I.L.C.S. 5/2-313;
   11

   12             o.    Ind. Code § 26-1-2-313;

   13             p.    Iowa Code § 554.2313;
   14
                  q.    K.S.A. § 84-2-313;
   15
                  r.    K.R.S. § 355.2-313;
   16

   17             s.    11 M.R.S. § 2-313;

   18             t.    Md. Commercial Law Code Ann. § 2-313;
   19
                  u.    106 Mass. Gen. Laws Ann. § 2-313;
   20
                  v.    M.C.L.S. § 440.2313;
   21

   22             w.    Minn. Stat. § 336.2-313;

   23             x.    Miss. Code Ann. § 75-2-313;
   24
                  y.    R.S. Mo. § 400.2-313;
   25
                  z.    Mont. Code Anno. § 30-2-313;
   26

   27             aa.   Neb. Rev. Stat. § 2-313;

   28
                                                32
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                  bb.   Nev. Rev. Stat. Ann. § 104.2313;
    1

    2             cc.   R.S.A. 382-A:2-313;
    3             dd.   N.J. Stat. Ann. § 12A:2-313;
    4
                  ee.   N.M. Stat. Ann. § 55-2-313;
    5
                  ff.   N.Y. U.C.C. Law § 2-313;
    6

    7             gg.   N.C. Gen. Stat. § 25-2-313;
    8             hh.   N.D. Cent. Code § 41-02-30;
    9
                  ii.   II. O.R.C. Ann. § 1302.26;
   10
                  jj.   12A Okl. St. § 2-313;
   11

   12             kk.   Or. Rev. Stat. § 72-3130;

   13             ll.   13 Pa. Rev. Stat. § 72-3130;
   14
                  mm. R.I. Gen. Laws § 6A-2-313;
   15
                  nn.   S.C. Code Ann. § 36-2-313;
   16

   17             oo.   S.D. Codified Laws, § 57A-2-313;

   18             pp.   Tenn. Code Ann. § 47-2-313;
   19
                  qq.   Tex. Bus. & Com. Code § 2.313;
   20
                  rr.   Utah Code Ann. § 70A-2-313;
   21

   22             ss.   9A V.S.A. § 2-313;

   23             tt.   Va. Code Ann. § 59.1-504.2;
   24
                  uu.   Wash. Rev. Code Ann. § 6A.2-313;
   25
                  vv.   W. Va. Code § 46-2-313;
   26

   27             ww.   Wis. Stat. § 402.313;

   28
                                                33
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                      xx.    Wyo. Stat. § 34.1-2-313.
    1

    2          112.   As a direct and proximate result of Defendant’s breach of express warranty,
    3 Plaintiffs and Class Members were damaged in the amount of the price they paid for the

    4
        Products, in an amount to be proven at trial.
    5
                                  SEVENTH CAUSE OF ACTION
    6
                            VIOLATION OF THE MAGNUSON-MOSS
    7                        WARRANTY ACT, 15 U.S.C. § 2301 et seq.
                        (Brought by Plaintiffs on Behalf of All Class Members)
    8
    9          113.   Plaintiffs repeat and reallege each and every allegation contained in the

   10 foregoing paragraphs as if fully set forth herein.

   11
               114.   Plaintiffs bring this claim individually and on behalf of all members of the
   12
        Class. Upon certification, the Class will consist of more than 100 named Plaintiffs.
   13

   14          115.   The Magnuson-Moss Warranty Act provides a federal remedy for consumers

   15 who have been damaged by the failure of a supplier or warrantor to comply with any

   16
        obligation under a written warranty or implied warranty, or other various obligations
   17
        established under the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et seq.
   18

   19          116.   The Products are “consumer products” within the meaning of the Magnuson-

   20 Moss Warranty Act, 15 U.S.C. § 2301(1).

   21          117.   Plaintiffs and other members of the Class are “consumers” within the
   22
        meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
   23

   24
               118.   Defendant is a “supplier” and “warrantor” within the meaning of the

   25 Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301(4) & 2301(5).

   26          119.   Defendant represented in writing that the Products are “Natural”.
   27

   28
                                                        34
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               120.   These statements were made in connection with the sale of the Products and
    1

    2 relate to the nature of the Products and affirm and promise that the Products are as

    3 represented and defect free and, as such, are “written warranties” within the meaning of the

    4
        Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(6)(A).
    5
               121.   As alleged herein, Defendant breached the written warranty by selling
    6

    7 consumers Products that are not “Natural”. The Products do not conform to the

    8 Defendant’s written warranty and therefore violates the Magnuson-Moss Warranty Act, 15
    9
        U.S.C. § 2301 et seq. Consequently, Plaintiffs and the other members of the Class have
   10
        suffered injury and are entitled to damages in an amount to be proven at trial.
   11

   12                           EIGHTH CAUSE OF ACTION
                 VIOLATION OF STATE CONSUMER PROTECTION STATUTES
   13                 (Brought by Plaintiffs on Behalf of all Class Members)
   14
               122.   Plaintiffs repeat and reallege each and every allegation contained in all the
   15
        foregoing paragraphs as if fully set forth herein.
   16

   17          123.   Plaintiffs and Class Members have been injured as a result of Defendant’s

   18 violations of the following state consumer protection statutes, which also provide a basis

   19
        for redress to Plaintiffs and Class Members based on Defendant’s fraudulent, deceptive,
   20
        unfair and unconscionable acts, practices and conduct.
   21

   22          124.   Defendant’s conduct as alleged herein violates the consumer protection,

   23 unfair trade practices and deceptive acts laws of each of the following jurisdictions:

   24
                 a.   Alaska: Defendant’s practices were and are in violation of Alaska’s Unfair
   25
                      Trade Practices and Consumer Protection Act, Alaska Stat. § 45.50.471, et
   26

   27                 seq.

   28
                                                      35
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              b.   Arizona: Defendant’s practices were and are in violation of Arizona’s
    1

    2              Consumer Fraud Act, Ariz. Rev. Stat. Ann. §§ 44-1521, et seq.
    3         c.   Arkansas: Defendant’s practices were and are in violation of Arkansas
    4
                   Code Ann. § 4-88-101, et seq.
    5
              d.   Colorado: Defendant’s practices were and are in violation of Colorado’s
    6

    7              Consumer Protection Act, Colo. Rev. Stat. §§ 61-1-101, et seq.
    8         e.   Connecticut: Defendant’s practices were and are in violation of
    9
                   Connecticut’s Gen. Stat. § 42-110a, et seq.
   10
              f.   Delaware: Defendant’s practices were and are in violation of Delaware’s
   11

   12              Consumer Fraud Act, Del. Code Ann. tit. 6, § 2511, et seq. and the

   13              Deceptive Trade Practices Act, Del. Code Ann. tit. 6, § 2531, et seq.
   14
              g.   District of Columbia: Defendant’s practices were and are in violation of
   15
                   the District of Columbia’s Consumer Protection Act, D.C. Code § 28-3901,
   16

   17              et seq.

   18         h.   Florida: Defendant’s practices were and are in violation of the Florida
   19
                   Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. § 501.201, et seq.
   20
              i.   Hawaii: Defendant’s practices were and are in violation of the Hawaii’s
   21

   22              Uniform Deceptive Trade Practices Act, Haw. Rev. Stat. § 481A-1, et seq.

   23              and Haw. Rev. Stat. § 480-2.
   24
              j.   Idaho: Defendant’s practices were and are in violation of Idaho’s Consumer
   25
                   Protection Act, Idaho Code Ann. § 48-601, et seq.
   26

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              k.   Illinois: Defendant’s acts and practices were and are in violation of Illinois’
    1

    2              Consumer Fraud and Deceptive Business Practices Act, 815 Ill. Comp. Stat.
    3              505/2; and Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat.
    4
                   510/2.
    5
              l.   Indiana: Defendant’s practices were and are in violation of Indiana’s
    6

    7              Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5-1, et seq.
    8         m. Kansas: Defendant’s practices were and are in violation of Kansas’s
    9
                   Consumer Protection Act, Kat. Stat. Ann. § 50-623, et seq.
   10
              n.   Kentucky: Defendant’s practices were and are in violation of Kentucky’s
   11

   12              Consumer Protection Act, Ky. Rev. Stat. Ann. § 367.110, et seq.

   13         o.   Maine: Defendant’s practices were and are in violation of the Maine Unfair
   14
                   Trade Practices Act, 5 Me. Rev. Stat. Ann. Tit. 5, § 205-A, et seq. and 10
   15
                   Me. Rev. Stat. Ann. § 1101, et seq.
   16

   17         p.   Maryland: Defendant’s practices were and are in violation of Maryland’s

   18              Consumer Protection Act, Md. Code Ann. Com. Law § 13-101, et seq.
   19
              q.   Massachusetts: Defendant’s practices were unfair and deceptive acts and
   20
                   practices in violation of Massachusetts’ Consumer Protection Act, Mass.
   21

   22              Gen. Laws ch. 93A, § 2.

   23         r.   Michigan: Defendant’s practices were and are in violation of Michigan’s
   24
                   Consumer Protection Act, Mich. Comp. Laws Ann. § 445.901, et seq.
   25

   26

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                                                  37
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              s.   Minnesota: Defendant’s practices were and are in violation of Minnesota’s
    1

    2              Prevention of Consumer Fraud Act, Minn. Stat. § 325F.68, et seq. and the
    3              Unlawful Trade Practices law, Minn. Stat. § 325D.09, et seq.
    4
              t.   Missouri: Defendant’s practices were and are in violation of Missouri’s
    5
                   Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.
    6

    7         u.   Nebraska: Defendant’s practices were and are in violation of Nebraska’s
    8              Consumer Protection Act, Neb. Rev. Stat. § 59-1601, et seq. and the Uniform
    9
                   Deceptive Trade Practices Act, § 87-302, et seq.
   10
              v.   Nevada: Defendant’s practices were and are in violation of Nevada’s
   11

   12              Deceptive Trade Practices Act, Nev. Rev. Stat. Ann. §§ 598.0903 and

   13              41.600.
   14
              w. New Hampshire: Defendant’s practices were and are in violation of New
   15
                   Hampshire’s Regulation of Business Practices for Consumer Protection,
   16

   17              N.H. Rev. Stat. Ann. § 358-A:1, et seq.

   18         x.   New Jersey: Defendant’s practices were and are in violation of New
   19
                   Jersey’s Consumer Fraud Act, N.J. Stat. Ann. § 56:8-1, et seq.
   20
              y.   New Mexico: Defendant’s practices were and are in violation of New
   21

   22              Mexico’s Unfair Practices Act, N.M. Stat. Ann. § 57-12-1, et seq.

   23         z.   North Carolina: Defendant’s practices were and are in violation of North
   24
                   Carolina’s Unfair Deceptive Trade Practices Act, N.C. Gen. Stat. Ann. § 75-
   25
                   1, et seq.
   26

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              aa. North Dakota: Defendant’s practices were and are in violation of North
    1

    2               Dakota’s Unlawful Sales or Advertising Practices law, N.D. Cent. Code §
    3               51-15-01, et seq.
    4
              bb. Ohio: Defendant’s practices were and are in violation of Ohio’s Consumer
    5
                    Sales Practices Act, Ohio Rev. Code Ann. § 1345.01, et seq. and Ohio’s
    6

    7               Deceptive Trade Practices Act. Ohio Rev. Code Ann. § 4165.01, et seq.
    8         cc. Oklahoma: Defendant’s practices were and are in violation of Oklahoma’s
    9
                    Consumer Protection Act, Okla. Stat. Ann. tit. 15 § 751, et seq., and
   10
                    Oklahoma’s Deceptive Trade Practices Act, Okla. Stat. Ann. tit. 78 § 51, et
   11

   12               seq.

   13         dd. Oregon: Defendant’s practices were and are in violation of Oregon’s
   14
                    Unlawful Trade Practices law, Or. Rev. Stat. § 646.605, et seq.
   15
              ee. Pennsylvania: Defendant’s practices were and are in violation of
   16

   17               Pennsylvania’s Unfair Trade Practice and Consumer Protection Law, 73 Pa.

   18               Stat. Ann. § 201-1, et seq.
   19
              ff.   Rhode Island: Defendant’s practices were and are in violation of Rhode
   20
                    Island’s Deceptive Trade Practices Act, R.I. Gen. Laws § 6-13.1-1, et seq.
   21

   22         gg. South Dakota: Defendant’s practices were and are in violation of South

   23               Dakota’s Deceptive Trade Practices and Consumer Protection Act, S.D.
   24
                    Codified Laws § 37-24-1, et seq.
   25

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                 hh. Texas: Defendant’s practices were and are in violation of Texas’ Deceptive
    1

    2                  Trade Practices Consumer Protection Act, Tex. Bus. & Com. Code Ann. §
    3                  17.41, et seq.
    4
                 ii.   Utah: Defendant’s practices were and are in violation of Utah’s Consumer
    5
                       Sales Practices Act, Utah Code Ann. § 13-11-1, et seq., and Utah’s Truth in
    6

    7                  Advertising Law, Utah Code Ann. § 13-11a-1, et seq.
    8            jj.   Vermont: Defendant’s practices were and are in violation of Vermont’s
    9
                       Consumer Fraud Act, Vt. Stat. Ann. tit. 9 § 2451, et seq.
   10
                 kk. Washington: Defendant’s practices were and are in violation of
   11

   12                  Washington Consumer Protection Act, Wash. Rev. Code Ann. § 19.86, et

   13                  seq.
   14
                 ll.   West Virginia: Defendant’s practices were and are in violation of West
   15
                       Virginia’s Consumer Credit and Protection Act, W. Va. Code § 46A-6-101,
   16

   17                  et seq.

   18            mm. Wisconsin: Defendant’s practices were and are in violation of Wisconsin’s
   19
                       Consumer Act, Wis. Stat. §421.101, et seq.
   20
                 nn. Wyoming: Defendant’s practices were and are in violation of Wyoming’s
   21

   22                  Consumer Protection Act, Wyo. Stat. Ann. §40-12-101, et seq.

   23          125.    Defendant violated the aforementioned states’ unfair and deceptive acts and
   24
        practices laws by representing that the Products are “Natural”.
   25
               126.    Contrary to Defendant’s representations, the Products are not “Natural”.
   26

   27

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               127.   Defendant’s misrepresentations were material to Plaintiffs’ and Class
    1

    2 Members’ decision to pay a premium for the Products.

    3          128.   Defendant made its untrue and/or misleading statements and representations
    4
        willfully, wantonly, and with reckless disregard for the truth.
    5
               129.   As a result of Defendant’s violations of the aforementioned states’ unfair
    6

    7 and deceptive practices laws, Plaintiffs and Class Members paid a premium for the

    8 Products.
    9
               130.   As a result of Defendant’s violations, Defendant has been unjustly enriched.
   10
               131.   Pursuant to the aforementioned states’ unfair and deceptive practices laws,
   11

   12 Plaintiffs and Class Members are entitled to recover compensatory damages, restitution,

   13 punitive and special damages including but not limited to treble damages, reasonable

   14
        attorneys’ fees and costs and other injunctive or declaratory relief as deemed appropriate
   15
        or permitted pursuant to the relevant law.
   16

   17                                NINTH CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTIBILITY
   18                  (Brought by Plaintiffs on Behalf of all Class Members)
   19          132. Plaintiffs repeat and reallege each and every allegation contained in the

   20 foregoing paragraphs as if fully set forth herein.

   21          133.   Defendant is in the business of manufacturing, distributing, marketing and
   22
        advertising the above listed products.
   23

   24
               134.   Under the Uniform Commercial Code’s implied warranty of merchantability,

   25 the Defendant warranted to Plaintiffs and Class Members that the Products are “Natural”.

   26          135.   Defendant breached the implied warranty of merchantability in that
   27
        Defendant’s Products’ ingredients deviate from the label and product description, and
   28
                                                      41
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        reasonable consumers expecting a product that conforms to its label would not accept the
    1

    2 Defendant’s Products if they knew that they actually contained synthetic ingredients, that

    3 are not “Natural”.

    4
               136.   Within a reasonable amount of time after the Plaintiffs discovered that the
    5
        Products contain synthetic ingredients, Plaintiffs notified the Defendant of such breach.
    6

    7          137.   The inability of the Defendant’s Products to meet the label description was
    8 wholly due to the Defendant’s fault and without Plaintiffs’ or Class Members’ fault or
    9
        neglect, and was solely due to the Defendant’s manufacture and distribution of the
   10
        Products to the public.
   11

   12          138.   As a result of the foregoing, Plaintiffs and Class Members have been

   13 damaged in the amount paid for the Defendant’s Products, together with interest thereon

   14
        from the date of purchase.
   15
                                              JURY DEMAND
   16

   17          Plaintiffs demand a trial by jury on all issues.

   18 WHEREFORE, Plaintiffs, on behalf of themselves and the Class, pray for judgment as

   19
        follows:
   20
           (a) Declaring this action to be a proper class action and certifying Plaintiffs as the
   21

   22          representatives of the Class under Rule 23 of the FRCP; and Plaintiffs Prudencio

   23          and Quintero as representatives of the California Subclass; and Plaintiff Rivera as
   24
               the representative of the New York Subclass.
   25

   26

   27

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                                                      42
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           (b) Entering preliminary and permanent injunctive relief against Defendant, directing
    1

    2         Defendant to correct its practices and to comply consumer protection laws
    3         nationwide, including California and New York consumer protection laws;
    4
           (c) Awarding monetary, compensatory, statutory and punitive damages;
    5
           (d) Awarding Plaintiffs and Class Members their costs and expenses incurred in this
    6

    7         action, including reasonable allowance of fees for Plaintiffs’ attorneys and experts,
    8         and reimbursement of Plaintiffs’ expenses; and
    9
           (e) Granting such other and further relief as the Court may deem just and proper.
   10

   11
        Dated: April 6, 2018
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   13
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